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 7                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF WASHINGTON
 8
 9    FAYEZ MANSOR, et al.,
10
                            Plaintiffs,                  No: 2:23-cv-347-JLR
11
      v.                                                 The Honorable James L. Robart
12
      U.S. CITIZENSHIP AND IMMIGRATION                   [PROPOSED] ORDER
13
      SERVICES, et al.,
14
                            Defendants.
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27                                                     U.S. Department of Justice, Civil Division
     [PROPOSED] ORDER                                         Office of Immigration Litigation
28   Case No. 2:23-cv-347                                    P.O. Box 868, Ben Franklin Station
                                                                  Washington, D.C. 20044
                                                                      (202) 353-9369
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               Case 2:23-cv-00347-JLR Document 70 Filed 10/30/23 Page 2 of 3




 1                                       [PROPOSED] ORDER
 2          Pursuant to the stipulation of the parties, and good cause having been shown, the Court
 3   hereby orders the following:
 4          (1) Defendants shall file the Certified Administrative Record by November 7, 2023;
 5          (2) The Parties shall meet and confer on the scope of any extra-record discovery by
 6              November 22, 2023;
 7          (3) The Parties shall submit a Combined Joint Status Report and Discovery Plan as
 8              contemplated by this Court’s Order (ECF No. 60), which shall include their respective
 9              positions on whether the Parties should exchange initial disclosures by December 22,
10              2023.
11          IT IS SO ORDERED on this 30th of October, 2023.
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                                                        A______________________
                                                         Hon. James L. Robart
                                                         U.S. District Court Senior Judge
16
17   Presented this 27th day of October, 2023, by:
18
19                                                       /s/ Matt Adams
                                                         Matt Adams
20                                                       NORTHWEST IMMIGRATION RIGHTS
21                                                       PROJECT
                                                         615 Second Ave., Ste. 400
22                                                       Seattle, WA 98104
                                                         (206) 957-8611
23                                                       matt@nwirp.org
24
                                                         Attorney for Plaintiffs.
25
26
27                                                                 U.S. Department of Justice, Civil Division
     [PROPOSED] ORDER                                                     Office of Immigration Litigation
28   Case No. 2:23-cv-347                                                P.O. Box 868, Ben Franklin Station
                                                                              Washington, D.C. 20044
                                                                                  (202) 353-9369
                                                 2
               Case 2:23-cv-00347-JLR Document 70 Filed 10/30/23 Page 3 of 3




 1                                              /s/ Kevin Hirst
 2                                              KEVIN HIRST
                                                Trial Attorney
 3                                              U.S. Department of Justice
                                                Office of Immigration Litigation
 4                                              District Court Section
                                                P.O. Box 868, Ben Franklin Station
 5                                              Washington, DC 20044
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 6                                              Email: kevin.c.hirst@usdoj.gov
 7                                              Attorney for Defendants.
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27                                                       U.S. Department of Justice, Civil Division
     [PROPOSED] ORDER                                           Office of Immigration Litigation
28   Case No. 2:23-cv-347                                      P.O. Box 868, Ben Franklin Station
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